Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.8 Page 1 of 17




                  EXHIBIT 1
            Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.9 Page 2 of 17




       STATE OF MICHIGAN                         NOTICE OF REVIEW FOR                    CASE NO.
        9 th CIRCUIT COURT                  RE-ASSIGNMENT TO THE BUSINESS                2018-0153-CZ
      KALAMAZOO COUNTY                              COURT DOCKET
Court Address                                                                                           Court Telephone No.
 TRIAL DIVISION - CIVIL -15 0 E. CROSSTOWN PARKWAY, KALAMAZOO, Ml 49001                                      (269) 383-8837



 Plaintiffs Name                                                      Defendant’s Name
 Scottsdale Capital Advisors Corp.                                    MorningLightMountain, LLC;
                                                               V      Michael Goode; and
                                                                      Does 1-10;

At a Session of the Court held o n _______ APR f 7 2 0        18
                                     Date

1. The Court finds, upon review of the pleadings, that the above captioned case Q does [S ’ does not meets the
criteria for assignment to the Business Court pursuant to MCL 600.8031, MCR 2.112(0), and LAO 2016-05.


2.




IT IS HEREBY ORDERED:

The above titled case □ is [ 5 is not re-assigned to the Business




9CC-0207T (10/17/16) NOTICE OF REVIEW FOR RE-ASSIGNMENT TO THE BUSINESS COURT DOCKET
                  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.10 Page 3 of 17


                                                                     Original - Court                                        2nd copy - Plaintiff
   Ap(3Tbved, SCAO                                                   1st copy - Defendant                                    3rd copy - Return
           STATE OF MICHIGAN                                                                                                     CASE NO.
                           JUDICIAL DISTRICT
9TH                          JUDICIAL CIRCUIT                                                                     18-   Of ) 3        (CZ)
                            COUNTY PROBATE
Court address                                                                                                                               Court telephone no.
 150 E. Crosstown Parkway, Kalamazoo, Michigan 49001                                                              (269) 383-8837
 Plaintiff's name(s), address(es), and telephone no(s).                                Defendant’s name(s), address(es), and telephone no(s).
 SCOTTSDALE CAPITAL ADVISORS CORP.
                                                                                       MORNINGLIGHTMOUNTAIN, LLC, a Michigan
                                                                                       limited liability company d/b/a GoodcTrades.com



 Plaintiff's attorney, bar no., address, and telephone no.
 Deborah L. Gordon (P27058)                                                                                                 FILED
 33 Bloomfield Hills Parkway, Suite 220
 Bloomfield Hills, MI 48304                                                                                                      APR 1 6 2018
 (248) 258-2500
 dgordon@deborahgordonlaw.com                                                                                                  BTH CIRCUIT COURT
                                                                                                                             COUNTY OF KALAMAZOO
                                                                                                                           - KALAMAZOO-MiCHIQAN

ISUMMONSI NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
 1. You are being sued.
 2. YOU HAVE 21 DAYS after receiving this summons to file a w ritten answer with the court and serve a copy on the other
    party or take other lawful action w ith the court (28 days if you were served by mail or you were served outside this state).
 3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
    demanded in the complaint.                                              f)
                               This summons expires           Court clerk U
            1 § 2018
                                    J U I. 1 6 2018          ----------- r h *
Family Division Cases (The following is information required in the caption of every complaint and is to be completed by the plaintiff.)
□ This case involves a minor who is under the continuing jurisdiction of another Michigan court. The name of the court, file
  number, and details are on page____ of the attached complaint.
□ There is no other pending or resolved action within the jurisdiction of the family division of circuit court involving the family
  or family members of the parties.
□ An action within the jurisdiction of the family division of the circuit court involving the family or family members of the parties
  has been previously filed in _ _ _ _ _ _ _ _ ___________________________________________________ Court.
The action    □ remains         □ is no longer      pending. The docket number and the judge assigned to the action are:
 Docket no.                                                       Judge                                                                          Bar no.



Civil Cases (The following is information required in the caption of every complaint and is to be completed by the plaintiff.)
□ This is a business case in which all or part of the action includes a business or commercial dispute under MCL 600.8035.
0 There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
  complaint.
□ A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint
  has been previously filed in ______________________________________________________________________ Court.
The action      CDremains        D is no longer pending. The docket number and the judge assigned to the action are:_____
 Docket no.                                                      Judge                                                                          Bar no.



VENUEl
Plaintiff(s) residence (Include city, township, or village)                    Defendants) residence (include city, township, or village)
Maricopa County, Arizona                                                       Eaton County, Michigan
Place where action arose or business conducted
Kalamazoo, Michigan

April 16, 2018                                                                  M Deborah L. Gordon (P27058)
Date                                                                            Signature of attorney/plaintiff

If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to
help you fully participate in court proceedings, please contact the court immediately to make arrangements.
MC 01    (6/17)   SUMMONS AND COMPLAINT                       MCR 2.102(B){11), MCR 2.104, MCR 2.105, MCR 2.107, MCR 2.113(C)(2)(a), (b), MCR 3.206(A)
              Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.11 Page 4 of 17


Ngte tc^Plajptiff: The summons is invalid unless
servedon or before its expiration date.                                              SUMMONS AND COMPLAINT
                                                    PROOF OF SERVICE               Case No. 18-                 (CZ)
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
complete service you must return this original and all copies to the court clerk.

___________________________ CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE____________________________
                  □ OFFICER CERTIFICATE                                      OR                  □ AFFIDAVIT OF PROCESS SERVER
I certify that I am a sheriff, deputy sheriff, bailiff, appointed                      Being first duly sworn, I state that I am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2]),                              adult who is not a party or an officer of a corporate party,
and that: (notarization not required)                                                  and that: (notarization required)

□ I served personally a copy of the summons and complaint.
□ I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
  together w ith________________________________________________________ _________________________
                     List all documents served with the Summons and Complaint




                                                                                                                                on the defendant(s):

Defendant's name                                      Complete address(es) of service                                           Day, date, time




□ I have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
  and have been unable to complete service.
Defendant’s name                                      Complet address(es) of service                                            Day, date, time




    declare that the statements above are true to the best of my information, knowledge, and belief.

Service fee            Miles traveled Fee                                       Signature
S
                                      Is                                        Name (type or print)
Incorrect address fee Miles traveled Fee                  TOTAL FEE
S
                                      l$                  $
                                                                                Title

Subscribed and sworn to before me o n ___                                                                                          County, Michigan.
                                                   Date

My commission expires:_______________                              Signature:______________________
                               Date                                                 Deputy court clerk/Notary public

Notary public, State of Michigan, County of

                                           ACKNOWLEDGMENT OF SERVICE
I acknowledge that I have received service of the summons and complaint, together w ith --------------
                                                                                                                  Attachments

                                                              o n ____________ _
                                                                  Day. date, time

                                                              _____ on behalf of
Signature
                  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.12 Page 5 of 17

   1
   Approved, SCAO
                                                                     Original - Court
                                                                     1st copy-Defendant
                                                                                                                             2nd copy • Plaintiff
                                                                                                                             3rd copy - Return
           STATE OF MICHIGAN                                                                                                     CASE NO.
                           JUDICIAL DISTRICT
9TH                         JUDICIAL CIRCUIT                  SUMMONS AND COMPLAINT
                                                                                                                 is- Q ( ) 3          (CZ)
                            COUNTY PROBATE
                                                                 ALEXANDER C. LIPSEY
Court address                                                                                                                                Court telephone no.
 150 E. Crosstown Parkway, Kalamazoo, Michigan 49001                                                             (269) 383-8837
 Plaintiff's name(s), address(es), and telephone no(s).                                  Defendant's name(s), address(es), and telephone no(s).
 SCOTTSDALE CAPITAL ADVISORS CORP.
                                                                                         MICHAEL GOODE, an individual
                                                                               V



Plaintiff’s attorney, bar no,, address, and telephone no.
 Deborah L. Gordon (P27058)
 33 Bloomfield Hills Parkway, Suite 220
 Bloomfield Hills, MI 48304
 (248) 258-2500
 dgordon@deborahgordonlaw.coin


[SUMMONS] NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
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 3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
    demanded in the complaint.

wr         i s 2018                    rawnrarie                           Court clerk



Fam ily D ivision Cases (The following is information required in the caption of every complaint and is to be completed by the plaintiff.)
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The action      □ remains       □ is no longer       pending. The docket number and the judge assigned to the action are:
 Docket no.                                                       Judge                                                                           Bar no.




C ivil Cases (The following is Information required in the caption of every complaint and Is to be completed by the plaintiff.)
□ This is a business case In which all or part of the action includes a business or commercial dispute under MCL 600,8035.
0 There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the
   complaint.
0 A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint
   has been previously filed in ________________ _____________________________________________________ Court.
The action      0 remains         0 is no longer pending. The docket number and the judge assigned to the action are:
 Docket no.                                                       Judge                                                                           Bar no.



Iv e n u e I
Plaintiff(s) residence (include city, township, or village)                    Defendant(s) residence (include city, township, or village)
Maricopa County, Arizona                                                       Kalamazoo County, Michigan
Place where action arose or business conducted
Kalamazoo, Michigan

April 16. 2018                                                                  M Deborah L. Gordon (P27058)
Date                                                                            Signature of attomey/plaintiff
If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to
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MC 01    (6/17)    SUMMONS AND COMPLAINT                      MCR 2.102(B)(11), MCR 2.104, MCR 2.105, MCR 2.107, MCR 2.113(C)(2)(a), (b), MCR 3.206(A)
              Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.13 Page 6 of 17

    1
NotOTo-Plaintiff: The summons Is invalid unless
served on or before its expiration date.                       _______________________                         SUMMONS AND COMPLAINT
                                                                                                              Case No. 18-      (CZ)
                                                    PROOF OF SERVICE
TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
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complete service you must return this original and all copies to the court clerk.

___________________________CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE____________________________
                  □ OFFICER CERTIFICATE                                    OR                   □ AFFIDAVIT OF PROCESS SERVER
I certify that I am a sheriff, deputy sheriff, bailiff, appointed                     Being first duly sworn, I state that I am a legally competent
court officer, or attorney for a party (MCR 2.104[A][2]),                             adult who is not a party or an officer of a corporate party,
and that: (notarization not required)                                                 and that: (notarization required)

□ I served personally a copy of the summons and complaint.
□ I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
  together w ith_________________________________________________________________________________
                    List all documents served with the Summons and Complaint




                                                                                                                              on the defendant(s):

Defendant's name                                     Complete address(es) of service                                          Day, date, time




□ I have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
  and have been unable to complete service.
Defendant's name                                     Complet address(es) of service                                           Day, date, time




I declare that the statements above are true to the best of my information, knowledge, and belief.

Service fee            Miles traveled Fee                                      Signature
S
                                     Is                                        Name (type or print)
Incorrect address fee Miles traveled Fee                 TOTAL FEE
$                                    |S                  $
                                                                              Title

Subscribed and sworn to before me o n ___                                                                                        County, Michigan.
                                                  Date

My commission expires:_______________                             Signature:_____________________
                              Date                                                Deputy court clerk/Notary public

Notary public, State of Michigan, County of

                                           ACKNOWLEDGMENT OF SERVICE
I acknowledge that I have received service of the summons and complaint, together w ith --------------
                                                                                                                Attachments

________________________________________ n                           n      _______________________________
                                                                Day, dale, time

_________________________________________ _                          on behalf o f _________________________
Signature
                  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.14 Page 7 of 17


                                                                       Original - Court                                        2nd copy - Plaintiff
    Aj^/bved, SCAO                                                     1st copy - Defendant                                    3rd copy - Return

           STATE OF MICHIGAN                                                                                                       CASE NO.
                           JUDICIAL DISTRICT
9TH                          JUDICIAL CIRCUIT                   SUMMONS AND COMPLAINT
                            COUNTY PROBATE                            ALEXANDER C. LIPSEY                          18-Q O J             (CZ)
Court address                                                                                                                                  Court telephone no.
 150 E. Crosstown Parkway, Kalamazoo, Michigan 49001                                                               (269) 383-8837
 Plaintiff's name(s), address(as), and telephone no(s).                                   Defendant's name(s), address(es), and telephone no(s).
 SCOTTSDALE CAPITAL ADVISORS CORP.
                                                                                          DOES 1-10
                                                                                 V



                 bar no., address, and telephone no.
Plaintiffs attorney,
 Deborah L. Gordon (P27058)
 33 Bloomfield Hills Parkway, Suite 220
 Bloomfield Hills, MI 48304
 (248) 258-2500
 dgordon@deborahgordonlaw.com                   .


ISUMMONS] NOTICE TO THE DEFENDANT: In the name of the people of the State of Michigan you are notified:
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 3. If you do not answer or take other action within the time allowed, judgment may be entered against you for the relief
    demanded in the complaint.
Issued        .                         This.sunimons empires               Court clerk
    APR 1 5 2018                      __ JUL 1 8 2018                                                 <#7
Family Division Cases (The following is information required in the caption of every complaint and is to be completed by the plaintiff.)
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The action    □ remains         □ is no longer      pending. The docket number and the judge assigned to the action are:
 Docket no.                                                         Judge                                                                           Bar no.



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  complaint.
□ A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint
  has been previously filed in ______________________________________________________________________ Court.
The action      D remains        □ is no longer pending. The docket number and the judge assigned to the action are:
Docket no.                                               Judge                                                                 Bar no.



VENUEj
Plaintiff(s) residence (include city, township, or village)                      Defendant(s) residence (include city, township, or village)
Maricopa County, Arizona                                                         Kalamazoo County, Michigan
Place where action arose or business conducted
Kalamazoo, Michigan

April 16. 2018                                                                    /q/Deborah L. Gordon (P27058)
Date                                                                              Signature of altomey/plaintiff

If you require special accommodations to use the court because of a disability or if you require a foreign language interpreter to
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MC 01    (6/17)    SUMMONS AND COMPLAINT                        MCR 2.102(B)(11), MCR 2.104, MCR 2.105, MCR 2.107, MCR 2.113(C)(2)(a), (b), MCR 3.206(A)
                 Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.15 Page 8 of 17


, Note to.Plaintiff: The summons is invalid unless
  served on or before its expiration date.                                             SUMMONS AND COMPLAINT
                                                                   _______________________
                                                      PROOF OF SERVICE               Case No. 18-                 (CZ)
  TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
  of expiration on the order for second summons. You must make and file your return with the court clerk. If you are unable to
  complete service you must return this original and all copies to the court clerk.

                                             CERTIFICATE / AFFIDAVIT OF SERVICE / NONSERVICE
                    □ OFFICER CERTIFICATE                                       OR                    □ AFFIDAVIT OF PROCESS SERVER
  I certify that I am a sheriff, deputy sheriff, bailiff, appointed                         Being first duly sworn, I state that I am a legally competent
  court officer, or attorney for a party (MCR 2.104[A][2]),                                 adult who is not a party or an officer of a corporate party,
  and that: (notarization not required)                                                     and that: (notarization required)

  □ I served personally a copy of the summons and complaint.
  □ I served by registered or certified mail (copy of return receipt attached) a copy of the summons and complaint,
    together w ith _________________________________________________________________________________
                       List all documents served with the Summons and Complaint




                                                                                                                                          on the defendant(s):

  Defendant’s name                                      Complete address(es) of service                                                    Day, date, time




  □ | have personally attempted to serve the summons and complaint, together with any attachments, on the following defendant(s)
    and have been unable to complete service.
  Defendant's name                                      Complet address(es) of service                                                     Day. date, time




      declare that the statements above are true to the best of my information, knowledge, and belief.

  Service fee            Miles traveled Fee                                         Signature
  $
                                        I*                                          Name (type or print)
  Incorrect address fee Miles traveled Fee                  TOTAL FEE
  $                                                         $
                                        l$                                          Title

  Subscribed and sworn to before me o n _____________ ___________, ------- — --------------------------------------------- County, Michigan.
                                                     Date

  My commission expires:------------------------------------- - Signature: — -------                                   ------ — ---------------------------------------
      3                          Date                                               Deputy court clerk/Notary public

  Notary public, State of Michigan, County o f ............................................ — ------------

                                             ACKNOWLEDGMENT OF SERVICE
  I acknowledge that I have received service of the summons and complaint, together with ^ t( hm

                                                                 on
                                                                      Day, date, time

                                                                      ___on behalf of
  Signature
   Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.16 Page 9 of 17




                             STATE OF MICHIGAN
            IN THE CIRCUIT COURT FOR THE COUNTY OF KALAMAZOO



SCOTTSDALE CAPITAL ADVISORS CORP.,
an Arizona corporation,

                 Plaintiff,

                                                       Case No: 18-()l)7 (CZ)
                                                       Hon.           y
MORNINGLIGHTMOUNTAIN, LLC, a                                 ALEXANDER C. LiPSEY
Michigan limited liability company d/b/a
GoodeTrades.com; MICHAEL GOODE, an
individual; and DOES 1-10, inclusive,


                 Defendants.




                               COMPLAINT AND JURY DEMAND

                 There is no other civil action between these parties arising out
                 of the same transaction or occurrence as alleged in this
                 Complaint pending in this Court, nor has any such action been
                 previously fded and dismissed after having been assigned to a
                 judge, nor do I know of any other civil action, not between
                 these parties, arising out of the same occurrence as alleged in
                 this Complaint that is either pending or was previously filed
                 and dismissed, transferred, or otherwise disposed of after
                 having been assigned to a judge in this Court.


       Plaintiff Scottsdale Capital Advisors Corp., for its Complaint against

MorningLightMountain, LLC d/b/a GoodeTrades.com and Michael Goode, alleges as follows:


                                         INTRODUCTION

       1.        Plaintiff Scottsdale Capital Advisors Corp. (“SCA”) is a successful securities

broker-dealer.
  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.17 Page 10 of 17




        2.     In an effort to smear SCA’s reputation, MorningLightMountain, LLC d/b/a

GoodeTrades.com and Michael Goode (collectively, “Defendants”) published two articles on

their website, www.goodetrades.com, on April 17, 2017 and June 14, 2017 which contained

numerous false, defamatory, and highly misleading statements of and concerning SCA. Among

other things, the articles falsely alleged that SCA is involved in penny stock “pump and dump”

schemes and improperly permits the trading of penny stocks.

       3.      By this action, SCA seeks to clear its good name and hold Defendants liable for

the harm caused by their misconduct,

                                         THE PARTIES

       4.      Plaintiff Scottsdale Capital Advisors Corp. is, and at all times relevant hereto was,

a corporation organized under the laws of the State of Arizona, with its principal place of

business in Maricopa County, Arizona.

       5.      SCA is informed and believes and based thereon alleges that Defendant

MorningLightMountain, LLC d/b/a GoodeTrades.com (“MorningLightMountain”) is, and at all

times relevant hereto was, a corporation organized under the laws of the Michigan, with its

principal place of business in Eaton County, Michigan. SCA is informed and believes and based

thereon alleges that MorningLightMountain owns and operates the website goodetrades.com.

       6.      SCA is informed and believes and based thereon alleges that Defendant Michael

Goode (“Goode”) is an individual who resides in Kalamazoo County, Michigan. Upon

information and belief, Goode is the sole owner and officer of Defendant

MorningLightMountain.

       7.      SCA is informed and believes and based thereon alleges that the fictitiously-

named defendants sued herein as Does 1 through 10, and each of them, are in some manner
  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.18 Page 11 of 17




responsible or legally liable for the actions, events, transactions and circumstances alleged

herein. The true names and capacities of such fictitiously-named defendants, whether individual,

corporate, or otherwise, are presently unknown to SCA, and SCA will seek leave of Court to

amend this Complaint to assert the true names and capacities of such fictitiously-named

defendants when the same have been ascertained. For convenience, each reference to a named

defendant herein shall also refer to Does 1 through 10. All defendants, including

MomingLightMountain, LLC d/b/a GoodeTrades.com, Michael Goode, and those referred to

herein as Does 1 through 10, are collectively referred to herein as “Defendants.”

                                 JURISDICTION AND VENUE

        8.       This Court has personal jurisdiction over Defendants because they have minimum

contacts with the State of Michigan, and defendant Goode is a domiciliary of the State of

Michigan.

        9.       Venue in Eaton County is proper because Defendant MomingLightMountain’s

principal place of business is in Eaton County.

        10.      The amount in controversy exceeds Twenty Five Thousand Dollars ($25,000.00)

exclusive of interest, costs, and attorney fees and the matter is otherwise within the jurisdiction

of this Court.

                      FACTS COMMON TO ALL CAUSES OF ACTION

        11.      Founded in 2002, SCA is a full service broker-dealer focused on serving the

microcap securities market, often referred to as the OTC market. In this time, SCA has grown to

become one of the dominant companies in the OTC market, with more than $125 million worth

of trades in 2015.

        12.      On April 17, 2017, Defendants published an article written by Goode on the



                                                  3
  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.19 Page 12 of 17




 website goodettmdes.com, entitled “FINRA fines Scottsdale Capital Advisors $1.5 million'’ (the

“April Article”): https://www.goodetrades.com/2017/04/fmra-fines-scottsdale-capital-advisors-1-

 5-million/. A true and correct copy of the April Article is attached hereto as Exhibit 1 and

 incorporated by this reference.

          13.            The April Article contained numerous statements that are defamatory and outright

false, including:

         a.      False Statement #1: “If you have followed penny stocks and pump and dumps

for a few years then you know Scottsdale Capital Advisors.”

         In truth, SCA has never been involved in any “pump and dump” schemes, has never been

a defendant in any “pump and dump” lawsuits, and has never been convicted of engaging in

“pump and dump” activity.

         b.     False Statement #2: “They [SCA] are one of the few brokers left that have

continued to allow the deposit and sale of shares of illiquid penny stocks. Larger brokers and

discount brokers stopped allowing that over five years ago.”

         In truth, numerous large brokers continue to trade in penny stocks, including without

limitation, interactive brokers, Merrill Lynch, Charles Schwab, Scottrade, Cor Clearing, and

TradeKing.

         c.     False Statement #3: “When the big Biozoom (BIZM) pump happened back in

2013 many of the frozen accounts were at Scottsdale Capital.”

         In truth, only a handful of accounts at SCA were frozen as a result of Biozoom trading.

Moreover, SCA has never been a defendant in any lawsuit involving the trading of Biozoom

stock.

         14.    On June 14, 2017, Defendants published a second article written on



                                                 4
  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.20 Page 13 of 17




goodetrades.com by Goode, entitled “SEC Sues Alpine Securities, continuing a run of bad news

for owner John Hurry” (the “June Article”): https://www,goodetrades.com/2017/06/ sec-sues-

alpine-securities-continuing-a-run-of-bad-news-for-owner-john-hurry/. A true and correct copy

of the June Article is attached hereto as Exhibit 2 and incorporated by this reference.

        15.    The June Article contains statements that are defamatory' and outright false,

including:

       a.      False Statement #1: “Lest anyone think that these are just minor paperwork

deficiencies with no real consequences, I remind you that one pump and dump alone, Biozoom

(B1ZM) led to over $17 million in fraudulent profits for manipulators / insiders, and many of

their accounts were at Scottsdale Capital Advisors.”

       In truth, other than hosting a handful of accounts that traded in Biozoom shares, SCA had

nothing to do with the trading of Biozoom shares. Moreover, as discussed above, SCA has never

been involved in any “pump and dump” schemes (including any “pump and dumps” involving

Biozoom shares), has never been a defendant in any “pump and dump” lawsuits, and has never

been convicted of engaging in “pump and dump” activity.

       16.     On September 21, 2017, SCA’s counsel sent a letter to Defendants identifying the

foregoing false statements in the April Article and June Article (collectively, the “Articles”), and

demanding that Defendants remove each one and publish a retraction, correction, and apology as

to each of those statements. Defendants have failed and refused to comply with SCA’s demand.

       17.     The false, defamatory, and highly misleading statements written and published by

Defendants have caused and are continuing to cause SCA economic harm and damage to its

reputation. Accordingly, SCA has no alternative but to file this lawsuit for compensatory

damages, punitive damages, and injunctive relief, as explained more fully herein.



                                                 5
   Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.21 Page 14 of 17




                                            COUNT ONE
                                       (Against All Defendants)
                                            (Defamation)

        18.        SCA incorporates by reference all of the preceding paragraphs as though fully

restated herein.

        19.    Defendants wrote and published the defamatory statements of fact about SCA

referred to in Paragraphs 13 and 15 herein (collectively, the “Defamatory Statements”).

        20.    The Defamatory Statements are false. Moreover, the statements, individually and

jointly, tend to so harm the reputation of Plaintiff as to lower its reputation in the community or

deter third persons from associating or dealing with it.

        21.    The Defamatory Statements involve materially false implications.

        22.    The Defamatory Statements have caused SCA to be damaged.

        23.    Defendants have refused to retract, correct or apologize for the Defamatory

Statements after being given notice and ample time to do so.

       24.     As a direct and proximate result of Defendants’ conduct, SCA has suffered

damages to its reputation and business interests in an amount to be determined at trial, and in an

amount not less than the jurisdictional minimum of this Court. SCA’s damages may also be

presumed because the Defamatory Statements impute to SCA offenses regarded by public

opinion as involving moral turpitude, and unfitness for the proper conduct of its lawful business,

trade, and profession.

       25.     SCA is a private figure for purposes of a defamation analysis.

       26.     Notwithstanding SCA’s status as a private figure, at the time the Defamatory

Statements were published, Defendants knew the Defamatory Statements were false and/or acted

in reckless disregard of whether the Defamatory Statements were true or false. As such, in



                                                   6
  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.22 Page 15 of 17




addition to compensatory damages and/or presumed damages, SCA is entitled to an award of

punitive damages in an amount to be determined at trial.

                                           COUNT TWO
                                      (Against All Defendants)
                                  (Invasion of Privacy: False Light)

        27.        SCA incorporates by reference all of the preceding paragraphs as though fully

restated herein.

       28.     Defendants’ publication of the Defamatory Statements also caused there to be

publicity concerning SCA that placed SCA in a false light in the public eye.

       29.     By publishing the Defamatory Statements, Defendants broadcast to the public in

general, or to a large number of people, information that was unreasonable and highly

objectionable by attributing to SCA characteristics and/or conduct that were false and placed

SCA in a false position.

       30.     At the time Defendants published statements, they knew the Defamatory

Statements were false and/or acted in reckless disregard as to the falsity of the publicized matter

and the false light in which SCA would be placed.

       31.    Defendants’ conduct was not for any proper purpose, nor was it within the scope

of Defendants’ authority or otherwise immune or privileged.

       32.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered

damages in an amount to be determined at trial, and in an amount not less than the jurisdictional

minimum of this Court.

       33.     Defendants’ conduct deliberately and intentionally injured the Plaintiff; their acts

were willful and malicious and are not dischargeable in bankruptcy.
  Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.23 Page 16 of 17




                                     JURY TRIAL DEMAND

        SCA hereby demands a jury trial of all issues in this case.

                                     PRAYER FOR RELIEF

        WHEREFORE, SCA requests that judgment be entered against the Defendants, and each

of them, as follows:

        A.      For compensatory, consequential, exemplary, and punitive damages in an amount

to be determined at trial;

        B.      For pre- and post-judgment interest on the foregoing sum at the highest lawful

rate from entry of judgment until paid in full;

        C.     For an injunction enjoining further publication of the Defamatory Statements;

       D.      For SCA!s costs of suit; and

       E.      For all other relief the Court deems appropriate.

Dated: April 16, 2018                         Respectfully submitted,

                                              DEBORAH GORDON LAW


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                                                   8
Case 1:18-cv-00533 ECF No. 1-1 filed 05/11/18 PageID.24 Page 17 of 17




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                                    9
